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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

IN RE:                                                         CASE NO:

MORFIS, PAUL,                                                  6:13-bk-15430-ABB
MORFIS, DEBORAH,

      Debtor(s).
___________________________/

                                   CHAPTER 13 PLAN

       COMES NOW, the debtor(s) and files this Chapter 13 Plan. The projected
disposable income of the debtor(s) is submitted to the supervision and control of the
Chapter 13 Standing Trustee, and the debtor(s) shall pay the following sums to the
Chapter 13 Standing trustee:

                                    PLAN PAYMENTS

Payment number by months                               Amount of monthly plan payments

1 – 36                                                 $1,850.00

       The debtor(s) shall pay by money order, cashier’s check, or wage deduction, to
Laurie K Weatherford, Chapter 13 Standing Trustee, PO Box 1103, Memphis, TN 38101-
1103. The debtor(s) name and case number must be indicated clearly thereon and
received by the due dates for payments established by Court Order.

          PAYMENT OF CLAIMS THROUGH THE CHAPTER 13 PLAN

Attorney fees
                               Claim                   Payment            Payment Month
Attorney fees                  Amount                  Amount             Numbers_______

Robert Zipperer, Esquire       $3,600.00               $100.00            1 - 36

Priority Claims

         The fees and expenses of the trusts shall be paid over the life of the plan at the
rate allowed as governed by the guidelines of the United States Trustee:

                               Claim                   Payment            Payment Month
Name of Creditor               Amount                  Amount             Numbers_______
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N/A

Secured Claims
                             Claim                Payment          Payment Month
Secured Creditor             Amount               Amount           Numbers_______

SunTrust Mortgage             $455,000.00          $1,550.00       1 - 60
40 Coastal Oaks Circle, Ponce Inlet, FL 32127
Debtors will file a Motion For Referral To Mortgage Modification Mediation

Secured Arrearage
                             Claim                Payment          Payment Month
Name of Creditor             Amount               Amount           Numbers_______

N/A

Secured Gap Payments
                             Claim                Payment          Payment Month
Name of Creditor             Amount               Amount           Numbers_______

N/A

Property to be surrendered

Name of Creditor                                  Property Address:______________

N/A

Valuation of Security
                             Claim                Payment          Payment Month
Name of Creditor             Amount               Amount           Numbers_______

N/A

Executory Contracts

The following Executory Contracts are assumed:

Name of Creditor             Description of Collateral         Month Numbers____

N/A

The following Executory Contracts are rejected:

Name of Creditor             Description of Collateral         Month Numbers____
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N/A

Unsecured Creditors whose claims are allowed shall receive a pro rata share of the
balance of the funds remaining after payments to priority and secured claims are made.

Property of the estate revests in the debtor(s) upon confirmation of the plan, or upon
completion of all plan payments and the discharge of debtor(s).

Dated this 6th day of January, 2014.
                                             /s/ Robert Zipperer
                                             ____________________________
                                             Robert Zipperer
                                             Attorney for Debtor(s)
                                             Florida Bar No: 196525
                                             224 South Beach St, Suite 202
                                             Daytona Beach, FL 32114
                                             386-226-1151 telephone

                                 PROOF OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished by either US Mail, postage prepaid or electronic mail to all creditors on the
attached mailing matrix (obtained from the Clerk’s office within 7 days prior to the date
of service), this 6th day of January, 2014.

                                             /s/ Robert Zipperer
                                             ________________________________
                                             Robert Zipperer
                                             Attorney for Debtor(s)
